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 2                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 3                                       AT TACOMA

 4
        UNITED STATES OF AMERICA,
 5
                                                          CASE NO. CR14-5159BHS
                               Plaintiff,
 6
                                                          ORDER
                 v.
 7
        DAVID LOZANO-ALVARADO,
 8
                               Defendant.
 9

10          IT IS HEREBY ORDERED that Defendant David Lozano-Alvarado is released from the

11 custody of the United States Marshal and the United States Marshal Shall: Arrange and provide

12 the funds for the non-custodial transportation of Defendant David Lozano-Alvarado from

13 Tacoma, Washington to Pomona, California on June 17, 2015, or as soon as possible. In
     addition, the United States Marshal shall furnish Defendant an adequate amount of money for
14
     subsistence expense to the destination, not to exceed the amount authorized as per diem
15
     allowance for travel under 5 USC 5702(A).
16
            Dated this 17th day of June, 2015.
17

18

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20
                                                 A
                                                 BENJAMIN H. SETTLE
                                                 United States District Judge
21

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     ORDER - 1
